                    Case 23-11069-CTG             Doc 1839        Filed 01/19/24        Page 1 of 3




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )     Chapter 11
                                                                      )
    YELLOW CORPORATION, et al., 1                                     )     Case No. 23-11069 (CTG)
                                                                      )
                                   Debtors.                           )     (Jointly Administered)
                                                                      )
                                                                      )     Re: Docket No. 1484

        CERTIFICATION OF NO OBJECTION REGARDING THIRD MONTHLY FEE
          APPLICATION OF KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
        INTERNATIONAL LLP, ATTORNEYS FOR THE DEBTORS AND DEBTORS
              IN POSSESSION, FOR THE PERIOD FROM OCTOBER 1, 2023
                   THROUGH AND INCLUDING OCTOBER 31, 2023
                              (NO ORDER REQUIRED)

                      The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the relief requested in the Third Monthly

Application for Compensation and Reimbursement of Expenses of Kirkland & Ellis LLP and

Kirkland & Ellis International LLP, Attorneys for the Debtors and Debtors in Possession, for the

period from October 1, 2023 to and Including, October 31, 2023 (the “Application”) [Docket

No. 1484] filed on December 22, 2023. The undersigned further certifies that he has caused the

Court’s docket in this case to be reviewed and no answer, objection or other responsive pleading

to the relief requested in the Application appears thereon. Pursuant to the Notice of Third

Monthly Application for Compensation and Reimbursement of Expenses of Kirkland & Ellis LLP

and Kirkland & Ellis International LLP, Attorneys for the Debtors and Debtors in Possession,



1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
       place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
       Overland Park, Kansas 66211.




    DOCS_DE:241442.2 42899/001

DE:4858-1562-7678.1 96859.001
                 Case 23-11069-CTG          Doc 1839     Filed 01/19/24    Page 2 of 3




for the period from October 1, 2023 to and Including, October 31, 2023 (the “Notice”),

responses to the Application were to be filed and served no later than January 12, 2024 at 4:00

p.m. prevailing Eastern Time.

                   Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief, entered

on September 13, 2023 [Docket No. 519] (the “Interim Compensation Order”) the Debtors are

authorized to pay Kirkland & Ellis LLP and Kirkland & Ellis International LLP $2,143,675.20

which represents 80% of the fees ($2,679,594.00) and $14,864.43, which represents 100% of the

expenses requested in the Application for the period October 1, 2023 through October 31, 2023

upon the filing of this certificate and without the need for entry of a Court order approving the

Application.




                                [Remainder of Page Intentionally Left Blank]




 DOCS_DE:241442.2 42899/001                          2
DE:4858-1562-7678.1 96859.001
                 Case 23-11069-CTG   Doc 1839      Filed 01/19/24   Page 3 of 3



Dated: January 19, 2024
Wilmington, Delaware

/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)             KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP          KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor        300 North LaSalle
P.O. Box 8705                              Chicago, Illinois 60654
Wilmington, Delaware 19801                 Telephone:       (212) 446-4800
Telephone:       (302) 652-4100            Facsimile:       (212) 446-4900
Facsimile:       (302) 652-4400            Email:           patrick.nash@kirkland.com
Email:           ljones@pszjlaw.com                         david.seligman@kirkland.com
                 tcairns@pszjlaw.com                        whitney.fogelberg@kirkland.com
                 pkeane@pszjlaw.com
                 ecorma@pszjlaw.com        -and-

                                           Allyson B. Smith (admitted pro hac vice)
                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                           601 Lexington Avenue
                                           New York, New York 10022
                                           Telephone:     (212) 446-4800
                                           Facsimile:     (212) 446-4900
                                           Email:         allyson.smith@kirkland.com

                                           Co-Counsel for the Debtors and Debtors in Possession




 DOCS_DE:241442.2 42899/001                3
DE:4858-1562-7678.1 96859.001
